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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
                                         :
 UNITED STATES OF AMERICA,               :
                                         :
                -v-                      :           22cr105 (DLC)
                                         :
 JAMES VELISSARIS,                       :            OPINION AND
                                         :               ORDER
                           Defendant.    :
                                         :
 --------------------------------------- X

APPEARANCES:

For the United States of America:
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For the defendant:
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DENISE COTE, District Judge:

     On November 21, 2022, James Velissaris pled guilty to one

count of securities fraud.     On April 7, 2023, the defendant’s

motion to withdraw his plea of guilty was denied, he was

sentenced principally to a term of 180 months’ imprisonment, and

remanded.   On April 19, the defendant filed a notice of appeal

of his sentence and conviction.      That same day, the defendant
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also filed a motion seeking his release from imprisonment

pending the appeal.   For the following reasons, the motion for

release pending appeal is denied.


                              Background

     The Court assumes familiarity with the transcript from the

defendant’s sentencing and with the Opinion on the motion to

withdraw the defendant’s plea of guilty, United States v.

Velissaris, 22cr105 (DLC), 2023 WL 2875487 (S.D.N.Y. Apr. 10,

2023), both of which are incorporated herein.        The facts

relevant to the instant motion are briefly summarized below.

     This case arises out of Velissaris’s scheme to defraud

investors while working as the Chief Investment Officer of

Infinity Q Capital Management, LLC (“Infinity Q”), an investment

adviser.   Infinity Q managed a registered mutual fund and a

private fund (together, the “Funds”).       The Funds held various

securities including over-the-counter (“OTC”) derivative

positions, which are not traded on an exchange.

     Velissaris represented to investors and others that, to

maintain an independent valuation process, Infinity Q valued its

OTC derivative positions using a third-party service known as

the Bloomberg Valuation Service (“BVAL”).       BVAL allows users to

model various financial instruments using templates.         To value

an OTC derivative position, BVAL users enter the relevant


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parameters for the position into the appropriate template and

then run a program that produces a valuation.

     Infinity Q and Velissaris represented to investors and

others that Infinity Q was not involved in the substantive

valuation process for the Funds’ OTC derivative positions.             In

fact, however, for certain positions, Velissaris altered the

inputs for the positions or the BVAL code itself in order to

inflate artificially the value of the positions.         This increased

the reported net asset value (“NAV”) of the assets held by the

Funds, which allowed Velissaris to reap larger management and

performance fees.   In addition to altering BVAL’s code and the

inputs entered into BVAL despite his representations to

investors, Velissaris also falsified documents to hide his

conduct from Infinity Q’s auditors and the Securities and

Exchange Commission (“SEC”).

     On November 21, just before trial was scheduled to begin,

Velissaris entered a plea of guilty to one count of securities

fraud, in violation of 15 U.S.C. §§ 78j(b) and 78ff and 17

C.F.R. § 240.10b-5.   After concluding that there was a

sufficient factual predicate for the plea of guilty and that the

defendant was entering the plea knowingly and voluntarily, the

Court accepted the plea and set a sentencing date.




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     On March 24, 2023, the same day that his sentencing

submission was due, the defendant, represented by new counsel,

filed a motion to withdraw his guilty plea.        On April 7, after

oral argument, the motion to withdraw the plea was denied.             A

fifty-eight-page Opinion was issued on April 10 elaborating on

the reasons for the denial.     Velissaris, 2023 WL 2875487.

     The April 10 Opinion addressed each of the defendant’s

arguments for his motion to withdraw the plea, including those

that he appeared to abandon in his reply memorandum.         It

rejected his three arguments that the Government failed to meet

its obligations under Brady v. Maryland, 373 U.S. 83 (1963).

Id. at *11-12.   It rejected the argument that his plea was

involuntary due to his mental state.      Id. at *13-14.     It

rejected each of his contentions that he had presented evidence

that he was innocent of securities fraud.       Id. at *15-18.     And

finally, it explained that the defendant unreasonably delayed in

bringing the motion, and that granting the motion would have

created significant unfair prejudice for the Government.          Id. at

*19-20.

     On April 19, the defendant filed a notice of appeal of his

conviction and sentence.    Later that evening, he also filed the

instant motion for release pending resolution of that appeal.




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                              Discussion

     Since the Court already denied the defendant’s request at

the sentencing proceeding for bail pending appeal, the

defendant’s instant motion may be properly viewed as a motion to

reconsider.   “Because the Federal Rules of Criminal Procedure do

not specify the standards governing a motion to reconsider,”

courts in this district look to “Local Civil Rule 6.3 (‘Local

Rule 6.3’) for the appropriate standard for reconsideration of a

decision in a criminal matter.”      United States v. Krasniqi, No.

1:10-cr-464-GHW, 2022 WL 16925215, at *1 (S.D.N.Y. Nov. 13,

2022) (citation omitted) (collecting cases).        Local

Rule 6.3 provides parties with an opportunity to inform the

Court of “matters or controlling decisions” which counsel

believes the Court has “overlooked.”       “Local Rule 6.3 is

narrowly construed and strictly applied so as to avoid

repetitive arguments on issues that the court has already

considered fully.”   In re Gen. Elec. Co. Sec. Litig., 856 F.

Supp. 2d 645, 652 (S.D.N.Y. 2012).

     The defendant does not identify any matters or controlling

decisions pertinent to the bail decision that the Court

overlooked.   Indeed, the defendant’s memorandum of law does not

even address the statements made by the Court on the record at

the sentencing proceeding, nor does it acknowledge the Court’s



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April 10 Opinion on the motion to withdraw the defendant’s

guilty plea, which touched on many of the relevant issues.

Instead, the short memorandum simply lists the arguments he made

in the motion to withdraw the plea and argues that he is not a

flight risk.     Thus, the defendant has presented no reason to

reconsider the Court’s decision to deny bail pending appeal,

which alone is sufficient to deny his motion.

     Even setting aside that he has failed to address the proper

standard for a motion for reconsideration, however, the

defendant has not satisfied his burden to show that release is

warranted.   18 U.S.C. § 3143(b) provides that a Court

     shall order that a person who has been found guilty of
     an offense and sentenced to a term of imprisonment,
     and who has filed an appeal or a petition for a writ
     of certiorari, be detained unless the judicial officer
     finds --

     (A)   by clear and convincing evidence that the person
           is not likely to flee or pose a danger to the
           safety of any other person or the
           community . . . ; and

     (B)   that the appeal is not for the purpose of delay
           and raises a substantial question of law or fact
           likely to result in --

           (i)     reversal,

           (ii)    an order for a new trial,

           (iii) a sentence that does not include a term of
                 imprisonment, or

           (iv)    a reduced sentence to a term of
                   imprisonment less than the total time


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                 already served plus the expected duration
                 of the appeal process.

(Emphases added.)   See also United States v. Randell, 761 F.2d

122, 125 (2d Cir. 1985).

     A.   Risk of Flight

     First, the defendant has not shown by clear and convincing

evidence that he is not likely to flee if released pending

appeal.   The defendant possesses substantial financial resources

and has the means to flee if he chooses.       Further, the

defendant’s actions leading up to his sentencing suggest that

his primary motivation is to avoid serving his sentence.

Roughly two weeks before his sentencing was scheduled, the

defendant retained new counsel, who immediately requested a 60-

day extension of the sentencing.       Later, on the same day that he

filed his sentencing submissions, he also submitted an

unexpected motion to withdraw his plea of guilty.         On the eve of

his already delayed sentencing, he submitted letters raising

additional issues and sought a further adjournment of the

sentencing.   Thus, the defendant’s conduct after changing his

counsel appeared to be directed solely towards delaying the

proceedings and surprising the Court with a drumbeat of new

applications.

     Defense counsel argues that the last-minute motions and

requests for delay should not be a reason to consider Velissaris


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a flight risk.    They note that the Government had previously

made two requests for continuances of the sentence, and that the

decisions to file the motions, as well as the timing of the

motions, were decisions made by defense counsel, rather than the

defendant himself.    It is true that the Government requested two

continuances of the sentencing date, one of ten days and one of

one week.   But the defendant mischaracterizes the extent of his

demonstrated desire to delay the proceedings.        As explained at

greater length in the April 10 Opinion, the defendant attempted

to delay the trial in this case on multiple occasions and, after

his plea of guilty, also attempted to delay the sentencing

multiple times.    Velissaris, 2023 WL 2875487, at *20.

     Likewise, the argument that the substance and timing of the

motions made on the eve of Velissaris’s sentencing were

strategic decisions made by lawyers is also not persuasive.            It

is fair to conclude that these strategic moves were made at the

request of and with the consent of the defendant.         In the

defense’s own telling, the entire purpose for Velissaris

retaining new counsel was so that the defendant could take a

more active role in the defense strategy.       Thus, the suggestion

that the defendant’s current counsel’s actions are divorced from

any requests from the defendant is not persuasive.




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     Moreover, contrary to the tenor of the defendant’s

memorandum, the issue is not whether evidence exists suggesting

that the defendant is a flight risk, but rather whether the

defendant has presented “clear and convincing evidence” showing

that he is not a flight risk.     He has failed to do so.       The

defendant’s memorandum relies in part on statements in the Pre-

Sentence Report prepared by the probation department.         But this

report was created before the defendant changed counsel, filed a

motion to withdraw his plea, and began his campaign of eleventh-

hour filings to avoid the sentencing.       Therefore, statements in

that report are not persuasive evidence now.        The memorandum

also notes that the defendant did not miss any court dates and

that, on February 25, 2022, he had to post a bond secured by $2

million, which he would surrender if he fled.        But these facts

provide no assurance that now, after the defendant’s motion to

withdraw his plea has been denied and a fifteen-year sentence

imposed, the defendant will not continue escalating his

strategic decisions and flee to avoid serving his sentence.            He

is a wealthy man with a net worth estimated at many times the

value of the posted bond.     Thus, the defendant has not shown by

clear and convincing evidence that he is not likely to flee if

released.




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     B.   Substantial Question of Law or Fact

     Second, wholly apart from defense counsel’s failure to

carry its burden with respect to the risk of flight, it has

utterly failed to carry its burden of showing that the appeal

presents a substantial question of law or fact.         The motion for

release pending appeal lists several potential questions of law

or fact relevant to his conviction (or, more precisely, to the

denial of the motion to withdraw his plea), as well as one

potential question related to his sentencing.         But the motion

makes no developed argument on any of these issues to show that

even one of them raises a substantial question of law or fact on

appeal.

          1.    Issues Relating to Conviction

     First, regarding his conviction, the defendant refers to an

argument made in connection with the motion to withdraw that he

cannot be guilty of securities fraud for failing to disclose

that Infinity Q adjusted the valuations produced by BVAL because

certain disclosures stated to investors that Infinity Q reserved

the right to make such adjustments.       This argument was squarely

addressed and rejected in the April 10 Opinion.

     That Opinion noted, for example, that “the Government's

case did not depend on the jury disregarding the documents that

defense counsel cites in this motion.”       Velissaris, 2023 WL



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2875487, at *16.   It outlined the substantial additional

evidence, including the defendant’s own sworn testimony,

suggesting that any alterations the defendant made were made not

to make valuations more accurate, but to increase fraudulently

the NAV of the Funds.    Id. at *15-16.

     The April 10 Opinion also explained that

     the disclosures on which the defendant now relies
     represented that Infinity Q’s valuation committee
     would meet to approve any changes in valuations
     produced by pricing services. Velissaris offers no
     evidence, however, that the valuation committee
     approved the alterations he made to BVAL or the inputs
     to BVAL. And, during the SEC’s investigation of
     Velissaris, he provided the SEC with falsified minutes
     of meetings of the valuation committee to hide his
     fraudulent use of BVAL.

Id. at *16 n.15.

     To elaborate further on this point, one of the disclosures

that Velissaris relied on provided that

     Infinity Q has established a Valuation Committee that
     is responsible for determining fair values and to
     ensure timely analysis and implementation of policies
     related to the pricing of individual securities or
     groups of securities that may be held by the Funds.

     The Valuation Committee is comprised of members of
     senior management including Infinity Q’s Chief
     Investment Officer, Chief Executive Officer, Chief
     Risk Officer, and Chief Compliance Officer. . . .

     The Valuation Committee meets monthly or more often if
     needed to establish pricing. . . . Any action or
     determination by the Valuation Committees shall
     require the approval of a majority of all members
     present at such meeting in quorum. . . .



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     The Valuation Committee is responsible for carrying
     out certain functions relating to the valuation of
     portfolio securities and other assets. These
     responsibilities include: . . . [w]here broker
     quotes/price indications or pricing service values
     (each, a “quote”) are relied upon to value a
     particular type of asset, reviewing quantitative and
     qualitative information, such as the appropriateness
     of the source (e.g., pricing source, broker or other
     source), recent trade activity and outliers and, where
     appropriate, quantitative support for valuations used.

(Emphases added.)    The same disclosure also explained that

     [i]n circumstances where an exchange, a pricing
     service, or where one or more quotes are not available
     for a Position, or where such exchange, pricing
     service, quote or quotes may not provide a reliable
     indication of fair value, Infinity Q will value each
     such Position based on relevant information . . . . A
     written valuation memo/model shall be provided for
     model-based prices explaining why the price used
     reflects fair value of the Position.

(Emphases added.)

     Velissaris provided no evidence in connection with his

motion to withdraw or now that his alterations to BVAL were

approved by the Valuation Committee or that he prepared a

written valuation memo that explained why the altered price

reflected fair value.    Thus, as already explained in the April

10 Opinion, he has presented no evidence why certain disclosures

about Infinity Q’s general ability to arrive at fairness in the

valuation process make Velissaris innocent of securities fraud.

     The defendant also refers to his argument that he cannot be

guilty of securities fraud for mismarking the positions at issue



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since these same disclosures purportedly allowed the defendant

to make adjustments to bring the valuations closer to fair

value.   But, again as already explained in the April 10 Opinion,

the defendant testified at his plea allocution that his

alterations were not intended to bring valuations closer to fair

value and instead were intended to inflate the Funds’ NAV and to

defraud investors.    Id. at *17.    Further, the defendant has

never presented any evidence suggesting that the specific

alterations he made brought the valuations closer to fair value.

Id. at *18.

     Finally, the defendant briefly lists other arguments made

in his motion to withdraw his guilty plea including his Brady

argument and his argument that the plea was involuntary.          These

arguments, too, were addressed at length in the April 10

Opinion, and the defendant offers no response to the analysis

presented in that Opinion.     Id. at *11-14.

          2.    Issues Relating to Sentencing

     Regarding his sentencing, the defendant separately contends

that he has raised a substantial question about the accuracy of

the financial loss amount contained in his plea agreement with

the Government and used in the Pre-Sentence Report to determine

his sentencing guidelines range.         Velissaris questioned the

calculation of the loss amount for the first time the night



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before his sentencing.     As the Court already explained at the

defendant’s sentencing,

     [t]here was no objection in the [Pre-Sentence Report]
     to the calculation of the offense level based on the
     amount of loss, there was no mention in the
     defendant’s sentencing submission with respect to a
     dispute regarding this issue, and there was a plea
     agreement in which the defendant stipulated to this
     offense level adjustment. . . .

     I have, as of today, no alternative number from the
     defendant, nor do I have a showing . . . that would
     prove that BVAL valuations are not objectively
     correct. In any event, that’s sort of irrelevant. It
     was BVAL that the defendant chose as the independent
     source for valuing securities so that investors, which
     were largely, not exclusively, large financial
     institutions, could trust that there be no
     manipulation. I must say this is really too late to
     raise this loss calculation issue. But there is
     plenty of support for the calculation contained in the
     presentence report.

     The Court then elaborated on the various sources of

information that suggested that the parties’ agreed-upon loss

calculation range of $65 million to $150 million was reasonable,

as required under the law, if not conservative.         The defendant

points to no evidence suggesting that a different loss amount

was more accurate, or that the evidence considered by the Court

in evaluating the parties’ agreed-upon calculation was not

appropriate to consider.     Nor does he now offer an alternative

figure as more accurate.     Accordingly, he has not shown that the

appeal will present a substantial question regarding the loss

calculation, much less that any revised loss calculation will


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